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 1                                   UNITED STATES DISTRICT COURT
 2                                        DISTRICT OF NEVADA
 3                                                    ***
 4    WILLIAM TRYON, an individual,                             Case No. 2:20-cv-01357-RFB-EJY
 5                     Plaintiff,
                                                                              ORDER
 6             v.
 7    GEICO INSURANCE and DOES I through
      X, inclusive,
 8
                       Defendants.
 9

10             Before the Court is the parties’ proposed Stipulated Discovery Plan and Scheduling Order
11   (ECF No. 12) seeking a year-long discovery period. The parties provide no reason for the extended
12   period of discovery requested.
13             Accordingly,
14             IT IS HEREBY ORDERED that the Stipulated Discovery Plan and Scheduling Order (ECF
15   No. 12) is DENIED without prejudice.
16             IT IS FURTHER ORDERED that the parties shall submit a revised plan and proposed order
17   within seven (7) days of the date of this Order providing the Court with a factual basis for granting
18   an initial discovery period longer than 180 days or file a plan with an initial discovery period of that
19   length.
20             Dated this 6th day of November, 2020
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                                                    ELAYNA J. YOUCHAH
24                                                  UNITED STATES MAGISTRATE JUDGE
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